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Fill in this information to identify your case:

United States Bankruptcy Court for the:

WESTERN DISTRICT OF VIRGINIA

Case number (if known)                                                        Chapter you are filing under:
                                                                                 Chapter 7
                                                                                 Chapter 11
                                                                                 Chapter 12

                                                                                 Chapter 13                                       Check if this an
                                                                                                                                  amended filing




Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                              12/17
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint
case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer
would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to
distinguish between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be
Debtor 1 in all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer
every question.


Part 1:   Identify Yourself

                                   About Debtor 1:                                                 About Debtor 2 (Spouse Only in a Joint Case):

1.   Your full name

     Write the name that is on     Shelia
     your government-issued        First name                                                      First name
     picture identification (for
     example, your driver's        A.
     license or passport).         Middle name                                                     Middle name
     Bring your picture
                                   Jackson
     identification to your
                                   Last name and Suffix (Sr., Jr., II, III)                        Last name and Suffix (Sr., Jr., II, III)
     meeting with the trustee.




2.   All other names you have
     used in the last 8 years FKA Shelia A. Booker
     Include your married or
     maiden names.



3.   Only the last 4 digits of
     your Social Security
     number or federal             xxx-xx-7579
     Individual Taxpayer
     Identification number
     (ITIN)




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Debtor 1   Shelia A. Jackson                                                                          Case number (if known)




                                 About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):

4.   Any business names and
     Employer Identification
     Numbers (EIN) you have         I have not used any business name or EINs.                    I have not used any business name or EINs.
     used in the last 8 years

     Include trade names and     Business name(s)                                              Business name(s)
     doing business as names

                                 EINs                                                          EINs




5.   Where you live                                                                            If Debtor 2 lives at a different address:

                                 1336 Lee Grant Avenue
                                 Appomattox, VA 24522
                                 Number, Street, City, State & ZIP Code                        Number, Street, City, State & ZIP Code

                                 Appomattox
                                 County                                                        County

                                 If your mailing address is different from the one             If Debtor 2's mailing address is different from yours, fill it
                                 above, fill it in here. Note that the court will send any     in here. Note that the court will send any notices to this
                                 notices to you at this mailing address.                       mailing address.

                                 P.O. Box 2424
                                 Appomattox, VA 24522-2424
                                 Number, P.O. Box, Street, City, State & ZIP Code              Number, P.O. Box, Street, City, State & ZIP Code




6.   Why you are choosing        Check one:                                                    Check one:
     this district to file for
     bankruptcy                         Over the last 180 days before filing this                      Over the last 180 days before filing this petition, I
                                        petition, I have lived in this district longer than            have lived in this district longer than in any other
                                        in any other district.                                         district.

                                        I have another reason.                                         I have another reason.
                                        Explain. (See 28 U.S.C. § 1408.)                               Explain. (See 28 U.S.C. § 1408.)




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Debtor 1    Shelia A. Jackson                                                                            Case number (if known)



Part 2:    Tell the Court About Your Bankruptcy Case

7.   The chapter of the      Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy
     Bankruptcy Code you are (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
     choosing to file under
                                 Chapter 7
                                     Chapter 11
                                     Chapter 12

                                     Chapter 13



8.   How you will pay the fee            I will pay the entire fee when I file my petition. Please check with the clerk’s office in your local court for more details
                                         about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier’s check, or money
                                         order. If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with
                                         a pre-printed address.
                                         I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay
                                         The Filing Fee in Installments (Official Form 103A).
                                         I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
                                         but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line
                                         that applies to your family size and you are unable to pay the fee in installments). If you choose this option, you must fill
                                         out the Application to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.


9.   Have you filed for             No.
     bankruptcy within the
     last 8 years?                  Yes.
                                                          LYN, C7, Discharged
                                              District    11/24/2015                   When      8/24/15                Case number      15-61609
                                                          LYN, C13, Discharged
                                              District    12/28/2007                   When     10/12/07                Case number      07-61924
                                              District    See Attachment               When                             Case number



10. Are any bankruptcy              No
    cases pending or being
    filed by a spouse who is        Yes.
    not filing this case with
    you, or by a business
    partner, or by an
    affiliate?
                                              Debtor                                                                   Relationship to you
                                              District                                 When                            Case number, if known
                                              Debtor                                                                   Relationship to you
                                              District                                 When                            Case number, if known



11. Do you rent your                No.        Go to line 12.
    residence?
                                    Yes.       Has your landlord obtained an eviction judgment against you?
                                                         No. Go to line 12.
                                                         Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as part of
                                                         this bankruptcy petition.




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Debtor 1    Shelia A. Jackson                                                                              Case number (if known)



Part 3:    Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor
    of any full- or part-time         No.      Go to Part 4.
    business?
                                      Yes.     Name and location of business
     A sole proprietorship is a
     business you operate as                   Name of business, if any
     an individual, and is not a
     separate legal entity such
     as a corporation,
     partnership, or LLC.
     If you have more than one                 Number, Street, City, State & ZIP Code
     sole proprietorship, use a
     separate sheet and attach
     it to this petition.                      Check the appropriate box to describe your business:
                                                       Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                       Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                       Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                       Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                       None of the above

13. Are you filing under           If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it can set appropriate
    Chapter 11 of the              deadlines. If you indicate that you are a small business debtor, you must attach your most recent balance sheet, statement of
    Bankruptcy Code and are        operations, cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure
    you a small business           in 11 U.S.C. 1116(1)(B).
    debtor?
                                      No.      I am not filing under Chapter 11.
     For a definition of small
     business debtor, see 11
                                      No.      I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the Bankruptcy
     U.S.C. § 101(51D).
                                               Code.

                                      Yes.     I am filing under Chapter 11 and I am a small business debtor according to the definition in the Bankruptcy Code.


Part 4:    Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any            No.
    property that poses or is
    alleged to pose a threat          Yes.
    of imminent and                          What is the hazard?
    identifiable hazard to
    public health or safety?
    Or do you own any
    property that needs                      If immediate attention is
    immediate attention?                     needed, why is it needed?

     For example, do you own
     perishable goods, or
     livestock that must be fed,             Where is the property?
     or a building that needs
     urgent repairs?
                                                                           Number, Street, City, State & Zip Code




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Debtor 1    Shelia A. Jackson                                                                          Case number (if known)

Part 5:    Explain Your Efforts to Receive a Briefing About Credit Counseling
                                     About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):
15. Tell the court whether           You must check one:                                           You must check one:
    you have received a                  I received a briefing from an approved credit                 I received a briefing from an approved credit
    briefing about credit                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
    counseling.                          filed this bankruptcy petition, and I received a              this bankruptcy petition, and I received a certificate of
                                         certificate of completion.                                    completion.
     The law requires that you
     receive a briefing about            Attach a copy of the certificate and the payment              Attach a copy of the certificate and the payment plan, if
     credit counseling before            plan, if any, that you developed with the agency.             any, that you developed with the agency.
     you file for bankruptcy.
     You must truthfully check           I received a briefing from an approved credit                 I received a briefing from an approved credit
     one of the following                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
     choices. If you cannot do           filed this bankruptcy petition, but I do not have             this bankruptcy petition, but I do not have a
     so, you are not eligible to         a certificate of completion.                                  certificate of completion.
     file.
                                         Within 14 days after you file this bankruptcy                 Within 14 days after you file this bankruptcy petition, you
     If you file anyway, the court       petition, you MUST file a copy of the certificate and         MUST file a copy of the certificate and payment plan, if
     can dismiss your case, you          payment plan, if any.                                         any.
     will lose whatever filing fee
     you paid, and your                  I certify that I asked for credit counseling                  I certify that I asked for credit counseling services
     creditors can begin                 services from an approved agency, but was                     from an approved agency, but was unable to obtain
     collection activities again.        unable to obtain those services during the 7                  those services during the 7 days after I made my
                                         days after I made my request, and exigent                     request, and exigent circumstances merit a 30-day
                                         circumstances merit a 30-day temporary waiver                 temporary waiver of the requirement.
                                         of the requirement.
                                                                                                       To ask for a 30-day temporary waiver of the requirement,
                                         To ask for a 30-day temporary waiver of the                   attach a separate sheet explaining what efforts you made
                                         requirement, attach a separate sheet explaining               to obtain the briefing, why you were unable to obtain it
                                         what efforts you made to obtain the briefing, why             before you filed for bankruptcy, and what exigent
                                         you were unable to obtain it before you filed for             circumstances required you to file this case.
                                         bankruptcy, and what exigent circumstances
                                         required you to file this case.                               Your case may be dismissed if the court is dissatisfied
                                                                                                       with your reasons for not receiving a briefing before you
                                         Your case may be dismissed if the court is                    filed for bankruptcy.
                                         dissatisfied with your reasons for not receiving a
                                         briefing before you filed for bankruptcy.                     If the court is satisfied with your reasons, you must still
                                         If the court is satisfied with your reasons, you must         receive a briefing within 30 days after you file. You must
                                         still receive a briefing within 30 days after you file.       file a certificate from the approved agency, along with a
                                         You must file a certificate from the approved                 copy of the payment plan you developed, if any. If you do
                                         agency, along with a copy of the payment plan you             not do so, your case may be dismissed.
                                         developed, if any. If you do not do so, your case
                                                                                                       Any extension of the 30-day deadline is granted only for
                                         may be dismissed.
                                                                                                       cause and is limited to a maximum of 15 days.
                                         Any extension of the 30-day deadline is granted
                                         only for cause and is limited to a maximum of 15
                                         days.
                                         I am not required to receive a briefing about                 I am not required to receive a briefing about credit
                                         credit counseling because of:                                 counseling because of:

                                               Incapacity.                                                  Incapacity.
                                               I have a mental illness or a mental deficiency               I have a mental illness or a mental deficiency that
                                               that makes me incapable of realizing or                      makes me incapable of realizing or making rational
                                               making rational decisions about finances.                    decisions about finances.

                                               Disability.                                                  Disability.
                                               My physical disability causes me to be                       My physical disability causes me to be unable to
                                               unable to participate in a briefing in person,               participate in a briefing in person, by phone, or
                                               by phone, or through the internet, even after                through the internet, even after I reasonably tried to
                                               I reasonably tried to do so.                                 do so.

                                               Active duty.                                                 Active duty.
                                               I am currently on active military duty in a                  I am currently on active military duty in a military
                                               military combat zone.                                        combat zone.
                                         If you believe you are not required to receive a              If you believe you are not required to receive a briefing
                                         briefing about credit counseling, you must file a             about credit counseling, you must file a motion for waiver
                                         motion for waiver credit counseling with the court.           of credit counseling with the court.




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Debtor 1    Shelia A. Jackson                                                                            Case number (if known)

Part 6:    Answer These Questions for Reporting Purposes

16. What kind of debts do        16a.      Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
    you have?                              individual primarily for a personal, family, or household purpose.”
                                               No. Go to line 16b.

                                               Yes. Go to line 17.
                                 16b.      Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                           money for a business or investment or through the operation of the business or investment.
                                               No. Go to line 16c.
                                               Yes. Go to line 17.
                                 16c.      State the type of debts you owe that are not consumer debts or business debts



17. Are you filing under            No.    I am not filing under Chapter 7. Go to line 18.
    Chapter 7?

     Do you estimate that           Yes.   I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative
     after any exempt                      expenses are paid that funds will be available to distribute to unsecured creditors?
     property is excluded and
     administrative expenses                   No
     are paid that funds will
     be available for                          Yes
     distribution to unsecured
     creditors?

18. How many Creditors do           1-49                                            1,000-5,000                                 25,001-50,000
    you estimate that you                                                           5001-10,000                                 50,001-100,000
    owe?                            50-99
                                    100-199                                         10,001-25,000                               More than100,000
                                    200-999

19. How much do you                 $0 - $50,000                                    $1,000,001 - $10 million                    $500,000,001 - $1 billion
    estimate your assets to                                                         $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
    be worth?                       $50,001 - $100,000
                                    $100,001 - $500,000                             $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                           $100,000,001 - $500 million                 More than $50 billion

20. How much do you                 $0 - $50,000                                    $1,000,001 - $10 million                    $500,000,001 - $1 billion
    estimate your liabilities                                                       $10,000,001 - $50 million                    $1,000,000,001 - $10 billion
    to be?                          $50,001 - $100,000
                                    $100,001 - $500,000                             $50,000,001 - $100 million                   $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                           $100,000,001 - $500 million                  More than $50 billion


Part 7:    Sign Below

For you                          I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.

                                 If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11,
                                 United States Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.

                                 If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this
                                 document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

                                 I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                 I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a
                                 bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
                                 1519, and 3571.
                                 /s/ Shelia A. Jackson
                                 Shelia A. Jackson                                                Signature of Debtor 2
                                 Signature of Debtor 1

                                 Executed on     February 26, 2019                                Executed on
                                                 MM / DD / YYYY                                                   MM / DD / YYYY




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Debtor 1   Shelia A. Jackson                                                                              Case number (if known)




For your attorney, if you are   I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to proceed
represented by one              under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter
                                for which the person is eligible. I also certify that I have delivered to the debtor(s) the notice required by 11 U.S.C. §
If you are not represented by   342(b) and, in a case in which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry that the information
an attorney, you do not need    in the schedules filed with the petition is incorrect.
to file this page.
                                /s/ Reginald R. Yancey                                             Date         February 26, 2019
                                Signature of Attorney for Debtor                                                MM / DD / YYYY

                                Reginald R. Yancey
                                Printed name

                                Reginald R. Yancey, Attorney, VSB #17958
                                Firm name

                                P.O. Box 11908
                                Lynchburg, VA 24506-1908
                                Number, Street, City, State & ZIP Code

                                Contact phone     434-528-1632                               Email address

                                V.S.B.#17958 VA
                                Bar number & State




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Debtor 1         Shelia A. Jackson                                                                 Case number (if known)


Fill in this information to identify your case:

Debtor 1               Shelia A. Jackson
                       First Name                 Middle Name            Last Name

Debtor 2
(Spouse if, filing)    First Name                 Middle Name            Last Name

United States Bankruptcy Court for the:    WESTERN DISTRICT OF VIRGINIA

Case number
(if known)                                                                                                                  Check if this is an
                                                                                                                            amended filing



                                                     FORM 101. VOLUNTARY PETITION
                                                   Prior Bankruptcy Cases Filed Attachment

District                                                            Case Number                         Date Filed
LYN, C7, Discharged 11/24/2015                                      15-61609                             8/24/15
LYN, C13, Discharged 12/28/2007                                     07-61924                            10/12/07
LYN, C13, Discharged 04/14/2006                                     03-00890                             3/06/03
LYN, C13, Discharged 02/22/02                                       98-02904                             9/22/98
LYN, C7, Discharged 06/16/1998                                      96-00280                             2/09/96




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                      AES/PHEAA
                      ATTN: BANKRUPTCY
                      1200 NORTH 7TH ST
                      HARRISBURG, PA 17102


                      AMERICAN GENERAL FINANCIAL/SPRINGLEAF FI
                      SPRINGLEAF FINANCIAL/ATTN: BANKRUPTCY DE
                      PO BOX 3251
                      EVANSVILLE, IN 47731


                      AMERICREDIT/GM FINANCIAL
                      ATTN: BANKRUPTCY
                      PO BOX 183853
                      ARLINGTON, TX 76096


                      ASHRO
                      1112 7TH AVE
                      MONROE, WI 53566


                      CAPITAL ONE
                      ATTN: BANKRUPTCY
                      PO BOX 30285
                      SALT LAKE CITY, UT 84130


                      CENTRA HEALTH
                      BUSINESS OFFICE
                      1920 ALTHERHOLT ROAD
                      LYNCHBURG, VA 24505


                      CENTRA MEDICAL GROUP
                      PO BOX 79940
                      BALTIMORE, MD 21279


                      CMG SOUTHSIDE NEUROLOGY CENTER
                      800 OAK STREET
                      FARMVILLE, VA 23901


                      COMENITY BANK/LANE BRYANT
                      ATTN: BANKRUPTCY
                      PO BOX 182125
                      COLUMBUS, OH 43218


                      COMENITY BANK/MARATHON
                      ATTN: BANKRUPTCY
                      PO BOX 182125
                      COLUMBUS, OH 43218
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                  COMENITY BANK/PEEBLES
                  ATTN: BANKRUPTCY
                  PO BOX 182125
                  COLUMBUS, OH 43218


                  COMENITYBANK/VENUS
                  ATTN: BANKRUPTCY DEPT
                  PO BOX 182125
                  COLUMBUS, OH 43218


                  CREDIT ACCEPTANCE
                  25505 WEST 12 MILE RD
                  SUITE 3000
                  SOUTHFIELD, MI 48034


                  CREDIT ONE BANK
                  ATTN: BANKRUPTCY DEPARTMENT
                  PO BOX 98873
                  LAS VEGAS, NV 89193


                  CREDITORS COLLECTION SERVICE
                  ATTN: BANKRUPTCY
                  PO BOX 21504
                  ROANOKE, VA 24018


                  DERMATOLOGY CONSULTANTS, INC.
                  PO BOX 759334
                  BALTIMORE, MD 21275-9334


                  FINGERHUT
                  ATTN: BANKRUPTCY
                  PO BOX 1250
                  SAINT CLOUD, MN 56395


                  FINGERHUT
                  ATTN: BANKRUPTCY
                  6250 RIDGEWOOD RD
                  SAINT CLOUD, MN 56303


                  FOCUSED RECOVERY SOLUTIONS
                  9701-METROPOLITAN CT
                  STE B
                  NORTH CHESTERFIELD, VA 23236
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                  GASTROENTEROLOGY ASSOCIATES
                  ATTN: BUSINESS OFFICE
                  107 WADSWORTH DRIVE
                  RICHMOND, VA 23236


                  HENRICO DOCTORS HOSPITAL
                  PO BOX 13620
                  RICHMOND, VA 23225


                  K. JORDAN
                  P.O. BOX 2809
                  MONROE, WI 53566


                  MASON EASY PAY
                  P O BOX 2808
                  MONROE, WI 53566


                  MIDNIGHT VELVET/SWISS COLONY
                  ATTN: BANKRUPTCY
                  PO BOX 2830
                  MONROE, WI 53566


                  NORTH AMERICAN PARTNERS- ANETHESIA
                  PO BOX 37090
                  BALTIMORE, MD 21297-3090


                  ONEMAIN FINANCIAL
                  ATTN: BANKRUPTCY
                  601 NW 2ND STREET
                  EVANSVILLE, IN 47708


                  ORTHOVIRGINIA
                  PO BOX 35725
                  RICHMOND, VA 23235-0725


                  PEEBLES
                  PO BOX 659465
                  SAN ANTONIO, TX 78265


                  RADIOLOGY CONSULTANTS OF RICHMOND
                  2602 BUFORD ROAD
                  RICHMOND, VA 23235
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                  REGIONAL ACCEPTANCE CO
                  ATTN: BANKRUPTCY
                  1424 E FIRETOWER RD
                  GREENVILLE, NC 27858


                  SCHEWEL FURNITURE CO-FARMVILLE
                  ATTN: RACHEL CREMEANS
                  P. O. BOX 6120
                  LYNCHBURG, VA 24505-6120


                  SHANICE M. BOOKER
                  P.O. BOX 2424
                  APPOMATTOX, VA 24522-2424


                  THE FARMERS BANK OF AP
                  223 MAIN ST
                  APPOMATTOX, VA 24522


                  VANDERBILT MORTGAGE
                  500 ALCOA TRAIL
                  MARYVILLE, TN 37804


                  VERIZON
                  VERIZON WIRELESS BK ADMIN
                  500 TECHNOLOGY DR STE 550
                  WELDON SPRINGS, MO 63304


                  VIRGINIA CREDIT UNION
                  ATTN: BANKRUPTCY
                  PO BOX 90010
                  RICHMOND, VA 23225


                  WAYS TO WORK INC
                  648 N. PLANKITON AVENUE
                  MILWAUKEE, WI 53203
